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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA

 In re:
                                                    Chapter 7
 MATTHEW RYAN STUCKE
                                                    Case No. 23-51696-BEM
 Debtors.


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

          PLEASE TAKE NOTICE that Heather D. Brown hereby files an appearance pursuant to

Bankruptcy Rule 9010 in connection with the above-captioned case on behalf of creditor Raymond

James & Associates, Inc.

          PLEASE TAKE FURTHER NOTICE that the undersigned hereby requests that all notices

given or required to be given in this case, and all papers served or required to be served in this

case, be given to and served upon the undersigned using the following contact information.

                                        Heather D. Brown
                                        Brown Law, LLC
                                      138 Bulloch Avenue
                                    Roswell, Georgia 30075
                                  Telephone: (404) 994-4300
                                Email: heather@hdbrownlaw.com

The foregoing request includes, without limitation, orders and notices of all filings with respect to

any application, motion, petition, pleadings, requests, complaint or demand, whether formal or

informal, whether written or oral and whether transmitted or conveyed by mail, delivery,

telephone, telecopy, email or otherwise, which affects or seeks to affect in any way, any rights or

interests of the debtor or any creditor, equity security holder, party in interest, and/or any other

person or entity.
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       This 15th day of March 2023.

                                      Respectfully submitted,

                                      BROWN LAW, LLC

                                             /s/
                                      Heather D. Brown
                                      Georgia Bar No. 100169

138 Bulloch Avenue
Roswell, Georgia 30075
Telephone: (404) 994-4300
Email: heather@hdbrownlaw.com


                               CERTIFICATE OF SERVICE

       I certify that on the 15th day of February 2023, I electronically filed and served the

foregoing NOTICE OF APPEARANCE AND REQUEST FOR NOTICES using the Court’s

CM/ECF system, which will deliver a copy to the all counsel of record.


                                      BROWN LAW, LLC

                                             /s/
                                      Heather D. Brown
                                      Georgia Bar No. 100169

138 Bulloch Avenue
Roswell, Georgia 30075
Telephone: (404) 994-4300
Email: heather@hdbrownlaw.com
